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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF RHODE ISLAND



STEPHEN RElSE

      v.

A.T. WALL, et al.


                              MEMORANDUM AND ORDER


      This matter is before the Court on plaintiffs objections to three Reports and

Recommendations issued by Magistrate Judge Hagopian on June 2, and June 13,

2005. The two Reports and Recommendations issued on June 2 dealt with motions for

summary judgment filed by defendant Doctor Motola and defendant Doctor Scott Allen.

Magistrate Judge Hagopian recommends that this Court grant the motions on all of

plaintiffs claims as to those defendants. Plaintiff has filed a timely objection.

      This Court has reviewed the Reports and Recommendations and plaintiffs

objections pursuant to F.R. Civ. P. 72(b). Having conducted a de novo review, this

Court finds that Magistrate Judge Hagopian's factual determinations are fully supported

by the record. The Court further finds that Magistrate Judge Hagopian's legal

conclusions are sound. The Court finds no merit in plaintiffs objections.

      This Court has also reviewed the Report and Recommendation issued by

Magistrate Judge Hagopian on June 13, 2005. In that Report and Recommendation,

Magistrate Judge Hagopian recommends that this Court grant the motion for summary

judgment filed by defendants Wall, Marocco, and White (collectively "State

defendants"). Plaintiff has also filed an objection to this Report and Recommendation,
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claiming that he did file a timely objection to the motion, contrary to Magistrate Judge

Hagopian's statement in the Report and Recommendation that "plaintiff did not file an

opposition. . ." Report and Recommendation 6113/05 p. I.Plaintiff apparently

attempted to file an objection to the State defendants' motion, however it was

procedurally defective. Plaintiffs filing is the subject of a Memorandum and Order

issued by Magistrate Judge Hagopian on June 13, 2005. Plaintiff objected to that

Memorandum and Order as well. In his objection to the Report and Recommendation,

plaintiff also sets forth his legal argument in opposition to the motion for summary

judgment, essentially claiming that the provisions of 42 U.S.C. § 1997(e) should not

apply to his claims against the State defendants because, he asserts, those claims are

"non-grievable." In support of this assertion, plaintiff attaches copies of correspondence

dated July 8, 2005. This material was not presented to the Magistrate Judge and this

Court will not consider it here. This Court further finds that plaintiffs assertion that his

claims made against the State defendants are not grievable is legally incorrect. These

are precisely the sort of claims of inmates considered by Congress to be subject to the

exhaustion requirements of Section 1997(e).

       Therefore, having considered Magistrate Judge Hagopian's recommendations

and plaintiffs objections (both procedural and substantive), this Court finds that the

State defendants are entitled to judgment as a matter of law. Accordingly, this Court

accepts and adopts Magistrate Judge Hagopian's June 13, 2005 Report and

Recommendation in its entirety.

       Finally, On June 16, 2005, Magistrate Judge Hagopian issued a Report and

Recommendation wherein he recommends that plaintiff's motion for preliminary
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injunction be denied. Plaintiff has also filed an objection to that Report and

Recommendation, although this Court notes that that objection was not timely filed. In

view of this Court's rulings on the defendants' motions for summary judgment, plaintiffs

motion for preliminary injunction is denied.


                                       Conclusion

       Having given due consideration to the Reports and Recommendations and

plaintiffs objections thereto, this Court adopts the Reports and Recommendations in

their entirety. The motions for summary judgment filed by defendants Allen, Motola,

Wall, Marroco, and White are GRANTED. Plaintiff's motion for preliminary injunction is

DENIED. The Clerk is directed to enter judgment in favor of all defendants.


SO ORDERED:



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Mary M. ~6di
United States District Judge
August /      ,2005
